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                       UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF SOUTH CAROLINA

CITY OF STUART, FLORIDA,                        )
                                                )    MDL No. 2873
               Plaintiff,                       )
                                                )
       v.                                       )    Master Docket No. 2:18-mn-2873
                                                )
3M COMPANY (f/k/a Minnesota Mining              )    Judge Richard Mark Gergel
and Manufacturing, Co.), TYCO FIRE              )
PRODUCTS LP, CHEMGUARD, INC.,                   )    Civil Action No. 2:18-CV-03487
BUCKEYE FIRE EQUIPMENT                          )
COMPANY, NATIONAL FOAM, INC.,                   )
KIDDE FENWAL, INC., DYNAX                       )
CORPORATION, E.I. DU PONT DE                    )    Plaintiff’s Sur-Reply to Kidde-Fenwal,
NEMOURS AND COMPANY, THE                        )    Inc.’s Reply Memorandum of Law in
CHEMOURS COMPANY FC, L.L.C.,                    )    Further Support of Its Motion for
CORTEVA, INC., DUPONT DE                        )    Partial Summary Judgment
NEMOURS, INC., BASF CORPORATION,                )
individually, and as successor in interest to   )
Ciba Inc., and CLARIANT                         )
CORPORATION, individually, and as               )
successor in interest to Sandoz Chemical        )
Corporation.                                    )
                                                )
               Defendants.                      )
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       In its proposed Reply [Stuart ECF No. 208-1](“Def’s. Reply”), Kidde argues that Florida’s

“pollution” exception to its comparative fault scheme is inapplicable, or, alternatively, that such

determination need not be made now. 1,2 Although Plaintiff submits that joint and several liability

is appliable to Stuart’s claims,3 Plaintiff agrees that such determination need not be made now,

however, disagrees with Defendants’ characterization of the telomers fault-allocation.

        Kidde’s claim that “FT-AFFF manufacturers, including Kidde, are collectively

responsible for only 1.5% to 4.5% of total PFAS water contamination in Stuart,”4 leaves out

important data and context. Specifically, Table 7 of Plaintiff’s expert, Dr. Jonathan Martin’s report,

identifies the minimum and maximum of 3M’s total PFAS contribution. 5 If one calculates the

average minimum values for each well, then 3M’s average minimum contribution is only 74.4%,

which, in other words, would mean the telomer contribution, on average, could be as much as

25.6%. In the year 2021, given that specific year’s pumping and flow rates, the result for that

particular year was that telomer contribution was between 1.5% and 4.5%. It is merely a snapshot

in time. Table 7 provides a broader overview of the telomer contribution since it reflects the percent

of telomer-derived PFOA in the groundwater itself. In fact, one would expect the telomer

contribution to increase relative to 3M’s contribution as telomer-AFFFs were used more recently

in Stuart than 3M AFFFs, and thus continue to leach into and accumulate in the groundwater.




1
  Def’s. Reply at 2-3.
2
  These arguments are echoed in Defendants’ Omnibus Reply [ECF No. 2850], at 13.
3
  Kidde states that Stuart relies on Florida’s comparative fault statute in its own brief. Def’s. Reply
at 3. This statement is misleading . In its Opposition to Defendants’ Omnibus Motion for Summary
Judgment [ECF No. 2799], Plaintiff discusses comparative fault only because Defendants have
put it at issue by raising it as an affirmative defense. Id. at 18.
4
  Def’s. Reply at 1.
5
  See Plaintiff’s Ex. 113, Expert Report of Jonathan Martin [ECF No. 2806-18], at 84, Table 7.
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       Further, as a practical matter, even assuming arguendo that telomer defendants are

responsible for only 1.5% to 4.5% of total PFAS contamination, given the approximately $140

million dollar damages claims in Stuart that still accounts for an objectively substantial sum,

potentially in the millions of dollars. That makes sense given that Kidde, with the other

fluorotelomer Defendants, are substantial contributing sources to the PFOA in Stuart’s wells. 6

       In any event, irrespective of fault allocation, Stuart also has a punitive damages claim, 7 and

given the reckless and wanton nature of the conduct at issue, and Kidde’s position as an AFFF

market leader, any potential punitive damages award against Kidde would likely be substantial.

       Finally, Kidde argues that its reliance on Plaintiff’s experts in support of its arguments

should not constitute a waiver of any challenge to their methodologies. 8 Kidde cannot adopt

Plaintiff’s experts’ opinions in its reply when it is simultaneously challenging such opinions under

Daubert.

Dated: February 17, 2023                              Respectfully submitted,

                                                      s/ Fred Thompson, III
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                                                              -and-

                                                      s/Michael A. London
                                                      Michael A. London
                                                      Douglas and London PC


6
  See Plaintiff’s Opposition to Defendant Kidde-Fenwal, Inc.’s Motion for Summary Judgment
[ECF No. 2803], at n. 14.
7
  See Plaintiff’s Second Amended Complaint [Stuart ECF No. 54], at ¶¶ 6, 301(e) and p. 46-47.
8
  Def’s. Reply at 3.


                                                 3
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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 17, 2023, I electronically filed the foregoing document

with the Clerk of Court using the CM/ECF system which will send notification of such filing to

all attorneys of record.

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